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                                            Certificate Number: 03088-PAE-DE-034680663
                                            Bankruptcy Case Number: 20-12892


                                                          03088-PAE-DE-034680663




              CERTIFICATE OF DEBTOR EDUCATION

I CERTIFY that on July 19, 2020, at 8:10 o'clock AM CDT, Carlos E Moreno
completed a course on personal financial management given by internet by Debt
Education and Certification Foundation, a provider approved pursuant to 11
U.S.C. 111 to provide an instructional course concerning personal financial
management in the Eastern District of Pennsylvania.




Date:   July 19, 2020                       By:      /s/Doug Tonne


                                            Name: Doug Tonne


                                            Title:   Counselor
